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                U.S. District Court for the Northern District Of Illinois
                              Attorney Appearance Form


 Case Title: Roadget Business Pte.          Case Number: 1:24-cv-6964
             Ltd.v. The P'ships et. al. in
             Schedule A
An appearance is hereby filed by the undersigned as attorney for:
Defendant Nos. 1, 5, 11-15, 17-20.
Attorney name (type or print): Timothy T. Wang

Firm: Ni, Wang & Massand, PLLC

Street address: 8140 Walnut Hill Ln., Ste. 615

City/State/Zip: Dallas, TX 75231

 Bar ID Number: 24067927                               Telephone Number: 9723314603
 (See item 3 in instructions)

Email Address: twang@nilawfirm.com

Are you acting as lead counsel in this case?                                 ✔ Yes             No

Are you a member of the court’s general bar?                                 ✔ Yes             No

Are you a member of the court’s trial bar?                                       Yes       ✔ No
Are you appearing pro hac vice?                                                  Yes       ✔ No
If this case reaches trial, will you act as the trial attorney?              ✔ Yes             No

If this is a criminal case, check your status.

                                                                  Retained Counsel
                                                                  Appointed Counsel
                                                                  If appointed counsel, are you a
                                                                      Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.


Executed on 10/16/2024

Attorney signature:        S/ Timothy T. Wang
                           (Use electronic signature if the appearance form is filed electronically.)
                                                                                       Revised 07/19/2023
